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                IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA
                            GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

v.                                                         CASE NO. 1:06-cr-35-MP-GRJ

BRUCE DAVID ADAMS

____________________________/


                          REPORT AND RECOMMENDATION

       This matter is before the Court on Doc. 440, a motion to vacate pursuant to 28

U.S.C. § 2255. The motion stems from Defendant’s jury-trial conviction of conspiracy to

possess with intent to distribute more than 5 kilograms of cocaine, in violation of 21

U.S.C § 841(a)(1), (b)(1)(A)(ii) (Count I), and possession of a firearm in furtherance of a

drug trafficking crime, in violation of 18 U.S.C § 924(c)(1)(A) (Count II). The Court

sentenced Defendant to 211 months imprisonment on Count I, and 60 months

imprisonment on Count II, to run consecutively, as required by statute. In the instant

motion, Defendant contends that he was denied his Sixth Amendment right to the

effective assistance of counsel. The Government has filed a response in opposition to

the motion, Doc. 453, and Defendant filed a reply, Doc. 456. For the following

reasons, the undersigned recommends that the motion to vacate be denied.

                                      Background

       Defendant, Betty Jo Rains, and Edward Hilgendorf were charged with a cocaine

trafficking conspiracy spanning from “at least by January 1, 2003, through in or about

September 2006,” and Defendant and Rains were charged with possession of firearms

in furtherance of the drug trafficking crime “on or about August 29, 2006.” Doc. 123
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(superceding indictment). A jury found Defendant guilty of both counts. Defendant’s

conviction and sentence were affirmed on appeal, and the relevant facts underlying the

case are summarized in the Eleventh Circuit’s unpublished opinion. Doc. 324.

        Defendant was the president of a motorcycle gang known as the Hell's Lovers.

A confidential informant (CI) testified that he went to the Hell's Lovers' “clubhouse” with

a third party to purchase cocaine. The clubhouse was located inside Defendant’s

business. The CI purchased cocaine from Defendant on several occasions, in

quantities ranging “from an ounce up to a pound to a kilo[gram].” Id. at 2.

        Investigators also made controlled cocaine purchases from Defendant’s

codefendant and girlfriend, Betty Jo Rains. Officers executed a search warrant at the

home that Rains shared with Defendant, uncovering 122.3 grams of cocaine, $24,716

in cash, 11 firearms, baggies, and digital scales. Rains informed investigators that

Juan Baez supplied her with cocaine for several years, and she agreed to set up a

controlled purchase of cocaine from Baez. Baez was intercepted en route to the

controlled purchase with 600 grams of cocaine in his possession. Rains testified that

she had worked with Defendant and others in purchasing cocaine from Baez, and she

also “fronted” Defendant cocaine to sell. Baez testified that Defendant accompanied

Rains when she purchased cocaine from Baez, and that Defendant “counted the money

and handled the cocaine.” Baez estimated that he sold at least 15 kilograms of cocaine

to Rains and Defendant in the two years prior to their arrests. Id. at 3.

        Among the items seized during the execution of the search warrant was a fanny

pack containing Defendant’s Kel-tec .380 caliber pistol, a magazine loaded with

ammunition, a digital scale, baggies, and 4.4 grams of cocaine. The trial evidence


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established that Defendant wore the same fanny pack during controlled buys. Doc. 189

at 82-84; Exhs. 14, 16, 18. Rains testified that Defendant sometimes carried a gun in

his briefcase when selling cocaine. Id. at 119.

        Defendant’s PSR included enhancements for threatening to kill two police

officers and for making 300 calls to Rains from jail regarding her testimony. The

probation officer determined the applicable Guidelines range was 188-235 months

imprisonment. Defendant’s statutory range of imprisonment on Count 1 was 10 years to

life. Doc. 324 at 5.

        The Court accepted the Guidelines calculations and concluded that “the

evidence clearly shows that Defendant was fully aware of the members of the

conspiracy and their roles in it, his role in it, [and] the amount of drugs involved in the

conspiracy.” Id. The Court determined that the 211-month sentence for Count I was

the “midway of the guideline range” and “appropriate under the circumstances.” Id. at

6. The court sentenced Defendant to the 60-month consecutive sentence on Count 2,

and stated that “[in] reaching the sentence I have considered all of the guidelines and

policy statements under 18 U.S. Code 3553(a).” Id.

        On appeal, Defendant claimed prosecutorial misconduct stemming from the

Government’s reference to the Hell’s Lovers as a “gang,” and other remarks.

Defendant also argued that his sentence was unreasonable because the Court did not

state a reason for imposing a sentence in the middle of the Guidelines range. He

argued that the Court did not specifically address each of the statutory sentencing

factors and did not find that the sentence was sufficient, but not greater than necessary,

as required by the statute. Id. at 6-11.


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        The Eleventh Circuit rejected these claims. With respect to the sentencing

claim, the Court concluded:

         “[Defendant] has failed to persuade us that his sentence was procedurally
        unreasonable . . . the court stated that ‘the evidence clearly shows that
        Defendant was fully aware of the members of the conspiracy and their
        roles in it, his role in it, [and] the amount of drugs involved in the
        conspiracy.’ Moreover, [Defendant] was found with several firearms and
        had been involved in a criminal conspiracy for some time involving over 15
        kilograms of cocaine. The court expressly stated that it had considered
        the information in the PSI, the guidelines, and the § 3553(a) factors, and it
        concluded that a sentence in the middle of the Guidelines range was
        appropriate. We cannot say that a sentence in the middle of the
        Guidelines range is procedurally unreasonable in this case.

Id. at 11.

        In the instant motion to vacate, Defendant asserts two ineffective-assistance

claims. First, Defendant contends that his trial counsel, FPD Thomas Miller, was

ineffective for failing to request a limiting instruction and/or a unanimity instruction

regarding the jury’s finding as to the date that Defendant possessed firearms as

charged in Count II. Defendant contends that counsel should have requested an

instruction because the Government presented evidence “that on a separate occasion

sometime before 29 August 2006 [Defendant] carried the same Kel-Tec .380 pistol in

his briefcase in furtherance of the conspiracy.” Defendant contends that the jury should

have been instructed that Count II was limited to whether Defendant possessed eleven

firearms on August 29, 2006. He contends that the jury also should have been

instructed that they must be unanimous as to whether Defendant possessed eleven

firearms on that date. Doc. 440. Defendant contends that his appellate counsel was

ineffective for failing to raise this issue on appeal. For his second claim, Defendant

contends that his trial counsel was ineffective for failing to object that the court did not


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make particularized findings as to the scope of the conspiracy and what Defendant

reasonably could have foreseen, as required by U.S.S.G. § 1B1.3, and that appellate

counsel was ineffective for failing to raise the issue on appeal. Id.

                                   Standard of Review

        A prisoner is entitled to relief under § 2255 if the court imposed a sentence that

(1) violated the Constitution or laws of the United States, (2) exceeded the court’s

jurisdiction, (3) exceeded the maximum authorized by law, or (4) is otherwise subject to

collateral attack. 28 U.S.C. § 2255; United States v. Phillips, 225 F.3d 1198, 1199 (11th

Cir. 2000); United States v. Walker, 198 F.3d 811, 813 n.5 (11th Cir. 1999). Collateral

review is not a substitute for direct appeal, and therefore the grounds for collateral

attack on final judgments pursuant to § 2255 are extremely limited. “Relief under 28

U.S.C. § 2255 ‘is reserved for transgressions of constitutional rights and for that narrow

compass of other injury that could not have been raised in direct appeal and would, if

condoned, result in a complete miscarriage of justice.’” Lynn v. United States, 365 F.3d

1225, 1232 (11th Cir. 2004) (citations omitted). Further, disposition of a claim of error

on direct appeal precludes further review in a subsequent collateral proceeding. See,

e.g., Mills v. United States, 36 F.3d 1052, 1056 (11th Cir. 1994).

        Because Defendant’s claims raise the issue of counsel’s effectiveness, a brief

review of Strickland v. Washington, 466 U.S. 668 (1984), is appropriate. To prevail on

a constitutional claim of ineffective assistance of counsel, a defendant must

demonstrate (1) that his counsel’s performance was below an objective and reasonable

professional norm, and (2) that he was prejudiced by this inadequacy. Strickland, 466




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U.S. at 686. The court may dispose of the claim if a defendant fails to carry his burden

of proof on either the performance or the prejudice prong. Id. at 697. The court need

not address the adequacy of counsel’s performance when a defendant fails to make a

sufficient showing of prejudice. Id.; see also Tafero v. Wainright, 796 F.2d 1314, 1319

(11th Cir. 1986). To show prejudice, a defendant must show more than simply that

counsel’s unreasonable conduct might have had “some conceivable effect on the

outcome of the proceeding.” Strickland, 466 U.S. at 693. Instead, a defendant must

show a “reasonable probability that, but for counsel’s unprofessional errors, the result of

the proceeding would have been different.” Id. at 694.

        In assessing appellate counsel’s performance, “the Sixth Amendment does not

require appellate advocates to raise every non-frivolous issue.” Heath v. Jones, 941

F.2d 1126, 1130 (11th Cir. 1991). Rather, “effective advocates ‘winnow out’ weaker

arguments even though the weaker arguments may be meritorious.” Id. at 1131. When

appellate counsel reviews the entire record, thinks about various claims, and then

chooses to pursue only certain issues on appeal, counsel has not rendered ineffective

assistance. Id. Although a non-appealed issue might have been successful if it had

been raised, appellate advocacy must be “judged in its entirety.” Id. To determine

prejudice in the context of appellate counsel’s effectiveness, the Court must review the

merits of the neglected claim or claims. Heath, 941 F.2d at 1132. Failure to raise a

claim will not be found prejudicial unless the claim would have a reasonable probability

of success on appeal. Id.




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                                        Discussion

Claim I: Ineffective assistance regarding firearm charge

        At the close of the Government’s case in chief, defense counsel moved for a

judgment of acquittal on the basis that the Government had not established a nexus

between the firearms seized at Defendant’s residence and the drug trafficking

conspiracy. The Court denied the motion, noting that Rains had testified that

Defendant carried the Kel-Tec firearm in his briefcase while he was carrying cocaine.

Doc. 189 at 136. In charging the jury, the Court instructed that:

        [Y]ou will note that the indictment charges that the offense was committed
        on or about a certain date. Now the government does not have to prove
        with certainty the exact date of the alleged offense. It is sufficient if the
        government proves beyond a reasonable doubt that the offense was
        committed on a date which is reasonably near that date alleged in the
        indictment.

Doc. 238 at 43.

        Defendant contends that his trial counsel performed deficiently by not requesting

an instruction that Count II was limited to whether Defendant possessed eleven

firearms on August 29, 2006. As the Government argues in opposition, there was no

basis under the governing law for counsel to request such an instruction. “When the

government charges that an offense occurred ‘on or about’ a certain date, the

defendant is on notice that the charge is not limited to the specific date or dates set out

in the indictment.” U.S. v. Reed 887 F.2d 1398, 1403 (11th Cir. 1989); (citing United

States v. Creamer, 721 F.2d 342 (11th Cir.1983)). “Proof of a date reasonably near the

specified date is sufficient.” Id. (citing United States v. Champion, 813 F.2d 1154 (11th

Cir.1987); United States v. Grapp, 653 F.2d 189, 195 (5th Cir. Unit A, 1981)).



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“Ordinarily, a variance between the date alleged and the date proved will not trigger

reversal as long as the date proved falls within the statute of limitations and before the

return of the indictment.” Id. (citing United States v. Harrell, 737 F.2d 971, 981 (11th

Cir.1984)).

        Rains testified that she was Defendant’s only source of cocaine for the duration

of their drug trafficking activity. The Kel-Tec pistol that was found in Defendant’s fanny

pack on August 29, 2006, was the same gun, according to Rains, that Defendant

carried in his briefcase at the same time that he carried cocaine on his person. Doc.

189 at at 118-19. Defendant testified that he sold cocaine from mid-April 2005, through

the date of his arrest in August 2006, and that he last sold cocaine on August 21, 2006.

Doc. 189 at 144-45. The evidence plainly was sufficient for the jury to find that

Defendant possessed a firearm in furtherance of a drug trafficking crime “on or about

August 29, 2006.” On this record and in view of the governing law, it was not

unreasonable for counsel not to request a limiting or unanimity instruction requiring a

finding that Defendant possessed all eleven firearms on August 29, but such a request

plainly would have been rejected. It likewise was not unreasonable for appellate

counsel to focus the appeal on more meritorious claims. Defendant has not shown that

trial or appellate counsel’s performance was deficient in this regard, nor has he shown

that he was prejudiced as a consequence of counsels’ performance.

Claim 2: Ineffective assistance regarding U.S.S.G. § 1B1.3

        Defendant contends that his trial counsel rendered ineffective assistance by

failing to object to the sentence on the grounds that the Court did not make




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particularized findings as to the scope of the conspiracy and whether Defendant

reasonably could have foreseen the amount of cocaine distributed in the conspiracy.

He also contends that his appellate counsel was ineffective for failing to raise this issue

on appeal.

        The PSR determined that Defendant was responsible for 15 kilograms of

cocaine, based on Baez’s testimony that he supplied Rains and Defendant with at least

15 kilograms of powder cocaine during the last two years of the conspiracy. The PSR

also recounts that the investigation of the conspiracy showed that Baez supplied Rains

and Hilgendorf with 4 to 6 ounces of cocaine every two weeks since the 1990's. PSR

¶ 21-23. As the Government points out, the record reflects that Mr. Miller did contest

the probation officer’s assessment that Defendant was responsible for 15 kilograms or

more of cocaine. Counsel argued that Rains’ ledgers reflected that she also sold

cocaine to Gary Rains, who was not charged as a co-conspirator, and that some of the

15 kilograms attributed to Defendant may have gone to Gary Rains. Doc. 239 at 9-10

(sentencing transcript). The Court overruled the objection, concluding that the evidence

supported a finding that Defendant was fully aware of the scope of the conspiracy, and

supported a finding that Defendant was responsible for 15 kilograms. Id. at 14-15.

         The advisory sentencing guidelines provided that a “defendant is accountable

for all quantities of [drugs] with which he was directly involved and, in the case of a

jointly undertaken criminal activity, all reasonably foreseeable quantities of [drugs] that

were within the scope of the criminal activity that he jointly undertook.” U.S.S.G.

§ 1B1.3 comment n. 2. The district court generally must make individualized findings




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concerning the scope of criminal activity undertaken by a defendant before determining

the drug quantities reasonably foreseeable in connection with that level of activity.

United States v. Ismond, 993 F.2d 1498, 1499 (11th Cir. 1993).

        The record reflects that trial counsel objected to the drug quantity attributed to

the Defendant in the PSR, and that in overruling the objection the Court made a finding

that Defendant individually was “fully aware” of the scope of the conspiracy. This

finding is supported in the evidence cited in the PSR.     PSR ¶ 21-23. Moreover,

Defendant told a CI during a recorded drug buy that he was acquiring cocaine in

quantities from an ounce to a pound to a kilo, and that he also bought “bricks” of two

and a half pounds of cocaine. Doc. 189 at 68. Given that the evidence cited in the

PSR showed that Baez supplied Rains and Adams with at least 15 kilograms of cocaine

in the last two years of the conspiracy, there is no merit to Defendant’s claim that the

Court erred by not specifically stating that 15 kilograms was “reasonably foreseeable”

to Defendant. On this record, it is clear that it was not unreasonable for counsel not to

interpose an objection on that ground, because such an objection would have been

overruled. It likewise was not unreasonable for appellate counsel to focus the appeal

on more meritorious claims. Defendant not shown that trial or appellate counsel’s

performance was deficient in this regard, nor has he shown that he was prejudiced as a

consequence of counsels’ performance.

                                Certificate of Appealability

        Section 2255 Rule 11(a) provides that “[t]he district court must issue or deny a

certificate of appealability when it enters a final order adverse to the applicant,” and if a




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certificate is issued “the court must state the specific issue or issues that satisfy the

showing required by 28 U.S.C. § 2253(c)(2).” A timely notice of appeal must still be

filed, even if the court issues a certificate of appealability. Rule 11(b), Rules Governing

Section 2254 Cases.

        The undersigned finds no substantial showing of the denial of a constitutional

right. 28 U.S.C. § 2253(c)(2); Slack v. McDaniel, 529 U.S. 473, 483–84 (2000).

Therefore, the undersigned recommends that the district court deny a certificate of

appealability in its final order.

        Rule 11(a) also provides: “Before entering the final order, the court may direct

the parties to submit arguments on whether a certificate should issue.” Thus, if there is

an objection to this recommendation by either party, that party may bring this argument

to the attention of the district judge in the objections permitted to this report and

recommendation.

        In light of the foregoing, it is respectfully RECOMMENDED that the motion to

vacate, Doc. 440, be DENIED, and that a COA be DENIED.

        IN CHAMBERS this 27th day of August 2012.


                                                s/Gary R. Jones
                                               GARY R. JONES
                                               United States Magistrate Judge


                                      NOTICE TO THE PARTIES

        Pursuant to Fed. R. Civ. P. 72(b)(2), a party may file specific, written objections to the
proposed findings and recommendations w ithin 14 days after being served w ith a copy of this report
and recommendation. A party may respond to another party’s objections w ithin 14 days after being
served w ith a copy thereof. Failure to file specific objections limits the scope of review of proposed
factual findings and recommendations.




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